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   Vaccines for Your Children

 Reasons to Follow CDC’s Recommended
 Immunization Schedule
 On-time Vaccination: The Ultimate Babyproofing Plan

   Most parents vaccinate their children according to CDC’s recommended immunization schedule, protecting them
   from 14 potentially serious diseases before their second birthday. Vaccinating children on time protects them and
   anyone around them with a weakened immune system.



                                          1. Ideal timing
                                          Like all good babyproofing plans, CDC’s recommended immunization schedule
                                          is safe and effective at protecting your baby. It’s based on how your child’s
                                          immune system responds to vaccines at various ages, and how likely your baby
                                          is to be exposed to a particular disease. This ensures your little one is protected
                                          from 14 potentially serious diseases at exactly the right time. On the other hand,
                                          there is no data to support that spacing out vaccines offers safe or effective
                                          protection from these diseases.


                                          So who looks at all the research and data to know what timing and doses are
   The immunization schedule is
                                          best? Hundreds of the country’
                                                                  country’s top doctors, public health professionals, and
   carefully designed to provide
                                          scientists design the schedule to ensure it is safe and effective.
   protection at just the right time.




                                          2. Prevent complications
                                          Delaying vaccines could leave your child vulnerable to disease when she’s
                                          most likely to have serious complications.

                                          Think of vaccines like a helmet for your baby. Just like safety equipment protects
                                          her from serious injury, vaccinating on schedule protects her from potentially
                                          serious diseases.


                                          Young babies are at highest risk of serious disease complications. For example,
                                          for you, whooping cough may mean a lingering cough for several weeks, but it
   While babies are born with some
                                          can be very serious—even deadly—for babies less than a year old. If you delay
   immunity, they have not yet built
                                          vaccinations, your baby could be exposed to diseases like whooping cough
   up the necessary defenses
                                          when she is most likely to have serious complications.
   against the diseases that vaccines
   prevent.




https://www.cdc.gov/vaccines/parents/schedules/reasons-follow-schedule.html                                         2/14/2020
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                                        3. Early protection
                                        It’s best to vaccinate before your child is exposed to dangerous diseases.


                                        You wouldn’t wait until you’re already driving down the road to put your baby in
                                        a car seat. You buckle him in every time, long before there is any chance he
                                        could be in a crash. Vaccines work the same way—your baby needs them long
                                        before he is exposed to a disease.


                                        If you wait until you think your child could be exposed to a serious illness –
                                        like when he starts daycare or during a disease outbreak – there may not be
   It can take weeks for a vaccine to
                                        enough time for the vaccine to work. That’s why the experts who set the
   help your baby make protective
                                        schedulepay such careful attention to timing. They have designed it to provide
   disease-fighting antibodies, and
                                        immunity early in life, before children are likely to be exposed to life-threatening
   some vaccines require multiple
                                        diseases.
   doses to provide best protection.




                                        4. Best Protection
                                        Your child isn’t fully protected if you cover just a few of the outlets she can reach
                                        around your home. Similarly, your baby won’t have the best protection from
                                        vaccines until she has all the recommended doses.


                                        Each vaccine is carefully developed to protect against a specific illness. Some
                                        require more than one dose to build strong enough immunity to protect your
                                        baby, or to boost immunity that decreases over time. Others need additional
                                        doses to ensure your baby is protected in case the first dose didn’t produce
                                        enough antibodies. Your child needs the flu vaccine each year because the
   Children won’t have the best
                                        disease changes over time. Simply put, every recommended dose of each
   protection from 14 serious
                                        vaccine on the schedule is important.
   diseases until they get all the
   recommended doses of each
   vaccine.




                                        5. Long-term protection
                                        Maternal antibodies and breastfeeding don’t provide enough protection.


                                        Just as you help your child learn to walk, the protection (antibodies) you passed
                                        to your baby before birth will help protect your little one from diseases during
                                        the first months of life. And just as your child needs to eventually walk on his
                                        own, his immune system eventually needs to fight diseases on its own. Vaccines
                                        help protect your child when your maternal antibodies wear off.


                                        For example, when you get whooping cough and flu vaccines while you’re
   Breastfeeding provides
                                        pregnant, you can pass some protection to your baby before birth. However,
   important protection from some
                                        you can only pass on protection from diseases that you have immunity to, and
   infections as your baby’s immune
                                        this can only protect your child in the first few months.




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   system is developing. However,    Breastfeeding provides important protection from some infections as your
   breast milk does not protect      baby’s immune system is developing. However, breast milk does not protect
   children against all diseases.    children against all diseases. Even for breastfed infants, vaccines are the most
                                     effective way to prevent many diseases. That’s why it’s so important to follow
                                     the immunization schedule. It ensures your baby’s immune system gets the help
                                     it needs to protect your child long-term from preventable diseases.


                                     6. Spreading illness
                                     Children who are not vaccinated on schedule are not only at risk of getting sick
                                     themselves, but they can also spread illness to others who aren’t protected  ,
                                     like newborns who are too young for vaccines and people with weakened
                                     immune systems. By getting your child’s vaccines on time you’re not only
                                     protecting your baby — you’re helping to protect your friends, family, and
                                     community, too.




   Not vaccinating your child on
   time can make someone else
   sick.




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